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James Garretson (00:07):
Hey, heads up, I had tried to call Sheriff Rhodes a couple of times, left him a message and so on.

Agent Matthew Bryant (00:13):
Did you leave him a message?

James Garretson (00:15):
Yes I did.

Agent Matthew Bryant (00:16):
Okay.

James Garretson (00:17):
So, [crosstalk 00:00:17]. The what?

Agent Matthew Bryant (00:21):
That covers you in reporting a potentially dangerous threat.

James Garretson (00:27):
Yeah, man, I'm just not going to take his call anymore. I got him on the block list, but... this is like a
freaking big Jerry Springer show, man.

Agent Matthew Bryant (00:38):
It is, man. That's why you need to get out of this mess, get away from these people.

James Garretson (00:43):
Oh yeah, I'm trying, I'd do it. These people were just idiots. They just keep tagging my name and things
on their sites, and tagging me in, and this and that. I'm about to just get rid of social media all but in
general.

Agent Matthew Bryant (00:58):
I sure as hell did, I don't want nothing to do with these nutsos.

James Garretson (01:01):
They're all nuts, they're all nuts. But yeah, I thought about last night, calling Ardmore and just putting
the thing on... put it on record, but I just didn't know who to call.

Agent Matthew Bryant (01:20):
Yeah. I think if you just have it where you called, contacted a law enforcement agency, and all they say,
"You go back to this case, and when Joe asked you to find somebody to hire for $10,000." That looks bad
that you never did anything, and you can say, "Well, I didn't know if he was serious or not." but that
looks bad when you knew somebody was hunting to murder somebody down.



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James Garretson (01:45):
Yeah, no, I got you.

Agent Matthew Bryant (01:46):
So now you can say, whether you believe it or not, you can say "Somebody made a threat about hurting
somebody, harming somebody, going to kill them. I made contact with local law enforcement, and let
them handle it how they see fit."

James Garretson (01:59):
Yeah, yeah, yeah. And I thought about that last night, is calling somebody, but I didn't want to call, and
then had the cops call Jeff, and then the next thing I have is, I have a hate page against me, because I
reported it. And you know he will.

Agent Matthew Bryant (02:18):
Yeah. Well, at least you notified somebody.

James Garretson (02:28):
Yeah, yeah. Well, I even asked for the undersheriff, but he was out too. I just didn't want to call up the
real 911 and make a report, because then you never know if they're going to call him or what. I don't
know, I guess he didn't do the job, I guess.

Agent Matthew Bryant (02:45):
Cool, so yeah, we'll see what happens. It does [inaudible 00:02:47].

James Garretson (02:47):
The what?

Agent Matthew Bryant (02:50):
And I hadn't heard from Paul, and I called him a couple times.

James Garretson (02:54):
Yeah, I talked to him this morning, and he had a dentist appointment and stuff. But he said he was going
to call you.

Agent Matthew Bryant (03:01):
Yeah, the only thing he really needs to do too, because he's busy, just text me an email, that I can email
him something.

James Garretson (03:08):
Well, he's going to set one up, because he said he didn't even have an email, but I told him.

Agent Matthew Bryant (03:14):
If that's the case, I can just serve him in-person. Where's he at, in Texas?


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James Garretson (03:17):
He's in Amarillo.

Agent Matthew Bryant (03:24):
What's the name of that place?

James Garretson (03:27):
It's not even a place, it's just a private-

Agent Matthew Bryant (03:30):
Is that not the place where those people just had a plane crash and died, is it?

James Garretson (03:33):
No, I don't think so.

Agent Matthew Bryant (03:33):
You know what I'm talking about?

James Garretson (03:35):
Uh-uh (negative). I try not to even watch the news, man, I just like... One thing about America, I hate the
political. Everything's so negative these days. You turn...

Agent Matthew Bryant (03:50):
You ever heard of Caramel Charles?

James Garretson (04:10):
Oh, you talking about Charlie Azzopardi.

Agent Matthew Bryant (04:32):
I don't, Charlie what?

James Garretson (04:35):
Charlie Azzopardi. He's in Amarillo, the Amarillo Wildlife Refuge.

Agent Matthew Bryant (04:44):
Okay.

James Garretson (04:45):
If that's who you're thinking about, because his wife's name starts with a C, like Caramel, or Carmen, I
don't remember.

Agent Matthew Bryant (04:51):
Okay. How do you spell his name again?

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James Garretson (04:51):
Azzopardi.

Agent Matthew Bryant (04:51):
Azzopardi.

James Garretson (05:01):
A-Z-Z-O-P-A-R-D-I. But I think you all charged him with... U.S. Fish and Wildlife came in and whacked him
pretty hard, I think. Charlie Azzopardi.

Agent Matthew Bryant (05:15):
And it's from the animal park?

James Garretson (05:20):
It used to be called the Amarillo Wildlife Refuge.

Agent Matthew Bryant (05:23):
Okay.

James Garretson (05:27):
That's not where Paul's at. I'm just saying, this is a different person.

Agent Matthew Bryant (05:34):
I know you [inaudible 00:05:34] where he's at, and that's fine. I can just go out there and hand him the
[crosstalk 00:05:43]...

James Garretson (05:43):
No, I'll tell you where he's at, I don't have a problem telling you anything.

Agent Matthew Bryant (05:48):
Yeah, I'll just find Paul.

James Garretson (05:51):
Yeah. Yeah, he said he would call you though, this afternoon. He told me that.

Agent Matthew Bryant (05:57):
I've been trying to get him an email or I have to serve him in person.

James Garretson (06:00):
Got you. Did you already send me mine?

Agent Matthew Bryant (06:03):
No, what's your email?

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James Garretson (06:05):
It's james19733@gmail.com.

Agent Matthew Bryant (06:19):
James19733@gmail, got it.

James Garretson (06:21):
@gmail.com.

Agent Matthew Bryant (06:21):
Yep.

James Garretson (06:24):
Okay. But yeah, when Rhodes calls you back, I'll tell him what's going on with all that stuff. I don't want
to be a co-conspirator in him whacking [Lowe 00:06:38]. He was butt-hurt. I was half-asleep, but he was
on and crying about something Lowe said about him, or whatever.

Agent Matthew Bryant (06:45):
I've got to share what he said, let's see if I can pull my text up.

James Garretson (06:55):
The what?

Agent Matthew Bryant (06:57):
Pulling my text stuff. This is what he texted me at 9:30. Would you be willing to ask Lowe to meet me in
a public place right now?

James Garretson (07:04):
A federal officer.

Agent Matthew Bryant (07:10):
Well, it's good to hear from you, but it is 9:30 at night, so let's chat tomorrow. Let some time pass. We
can discuss your [inaudible 00:07:21] tomorrow.

James Garretson (07:22):
A federal law enforcement officer, God. What is wrong with these people? And all that online bashing
does nothing for nobody, it really doesn't.

Agent Matthew Bryant (07:38):
Yeah.

James Garretson (07:38):
I saw that Jen Garrett bash, so I don't even know, I never even met the lady. Don't even know her.


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Agent Matthew Bryant (07:44):
All right. Crazy.

James Garretson (07:49):
Alrighty. Well, yeah, when Rhodes calls, I'll have that on record, just so you can handle it however you
want. But I got his number blocked, so I shouldn't be getting any more calls.

Agent Matthew Bryant (07:59):
Cool, well...

James Garretson (08:01):
Alrighty, let me get back to it man, I appreciate it.

Agent Matthew Bryant (08:04):
Right, goodbye.

James Garretson (08:04):
Bye.




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